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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS



    UNITED STATES OF AMERICA, ET AL.,

                          Plaintiffs,

                         v.                                   Civil Action No. 1:21-cv-11558-LTS

    AMERICAN AIRLINES GROUP INC. and
    JETBLUE AIRWAYS CORPORATION,

                          Defendants.




                       DEFENDANTS’ CORRECTED PRETRIAL BRIEF*




*
    This Brief contains corrections to certain statistics on pages 1, 4, 5, and 19.
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       Defendants American Airlines Group Inc. (“American”) and JetBlue Airways Corporation

(“JetBlue,” and together with American, “Defendants”) respectfully submit this Pretrial Brief

pursuant to the Case Management Order, ECF No. 65.

I.     INTRODUCTION

       As this case goes to trial after extensive discovery, the Northeast Alliance (or “NEA”) has

been in effect for about 18 months.        Plaintiffs concede that there is no evidence of any

anticompetitive fare increase or reduction in output. A rigorous analysis of fares on NEA routes

shows the Plaintiffs’ predicted fare increases simply have not materialized. Plaintiffs do not have

any evidence that the NEA, when analyzed on its own terms, reduces output and/or increases

fares—or even has a high likelihood of doing so. A proper analysis ends here. On this record,

Plaintiffs cannot meet their initial burden under the rule of reason to show anticompetitive effects.

       Yet the lack of any proven harms is only part of the story. Over its first 18 months, the

NEA has produced readily apparent consumer benefits. Through the NEA—which Delta Airlines

aptly described as a “                  ” in the competitive landscape—JetBlue and American

created a high-quality “NEA network” that has expanded output and improved the quality of travel

to and from Boston and New York. American and JetBlue have increased available seat miles

(“ASMs”), a standard measure of air carrier capacity, by more than 200% in the NEA region. This

new flying includes flights on approximately 50 new routes, and increased capacity (more

frequencies and/or larger aircraft) on approximately 130 existing routes. Through collaborative

scheduling, codesharing, and frequent flyer program integration, JetBlue and American customers

can choose flights from an expanded menu of well-timed options and can accrue and redeem

frequent flier points for travel on their airline of choice. Corporate customers also have access to

the expanded services of the NEA network, and the majority have elected to add NEA codeshare

flights to their respective contracts with American and JetBlue. Applying a methodology that the


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Department of Justice (the “DOJ”) invented and used in prior airline transactions, the NEA has

already produced hundreds of millions of dollars in consumer benefits.

       Considering that there is no evidence of adverse effects, the NEA has been all upside for

traveling consumers.

       And yet Plaintiffs say the NEA should be enjoined as anticompetitive. They argue that the

NEA should be seen as a disguised “merger” of JetBlue and American’s northeast operations. This

leads to a circular argument that since (a) the NEA is tantamount to a merger, and (b) any such

merger would be problematic under the Government’s Merger Guidelines, then (c) a “merger

simulation” can be used to predict the NEA’s competitive effects, and (d) that exercise predicts

substantial fare increases. Indeed, the only quantitative proof of adverse competitive effects in

Plaintiffs’ case comes from its static “merger simulation,” a tool which assumes merged firms do

not compete at all and by design always predicts increased prices. In fact, Plaintiffs’ expert admits

that the “merger simulation” does not model the NEA on its own terms but rather assumes the

parties will disregard the express terms of the NEA agreement and “behave” in different, more

merger-like ways.

       This does not meet a plaintiff’s burdens in a case brought under Section 1 of the Sherman

Act, 15 U.S.C. § 1. Plaintiffs’ approach is far too speculative, with the entire case turning on

flawed analogies rather than the agreements at issue or evidence of the NEA’s actual performance.

But more than that, Plaintiffs’ case ignores the particulars and limitations of the NEA agreements

at issue—the alleged “contract[s] … in restraint of trade” violating Section 1.           The NEA

agreements limit when and how JetBlue and American collaborate and thus preserve competition

like no merger would. For example:

          There is no coordination on pricing.




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          Each carrier retains its distinct business model—meaning that JetBlue remains the
           exact same disruptive low-cost carrier that Plaintiffs celebrate. The undisputed
           evidence is that JetBlue has not and will not change its low-fare, high-service-level
           business model because of the NEA.
          There is no coordination of fleet plans, overall industry capacity, or overall NEA
           capacity; even route-specific capacity planning is non-binding.
          Instead of profit-sharing, there is revenue-sharing on terms that even Plaintiffs’ and
           their experts concede create unilateral incentives for each partner to grow by expanding
           capacity.
          There is no revenue sharing or capacity coordination on select “carve out” routes where
           American and JetBlue face limited competition.

       Plaintiffs’ arguments and modeling also ignore the restrictions, obligations, and continuous

oversight that the Department of Transportation (“DOT”) imposed as a condition to terminating

its review of the NEA. These conditions include limitations on what can be discussed during

network planning sessions, prohibitions on manipulating the provision of slots and gates to

influence competitive behavior, a ban on JetBlue exiting non-seasonal, nonstop JFK routes it

served as of February 2020, and annual growth targets that, if not met, result in the forced

divestiture of valuable slots at JFK.

       Collectively, (a) the carriers’ actual agreements, with all of the terms that preserve

competition as well as those that arguably restrict it, and (b) the limitations, restrictions, and

continuing governmental oversight by DOT define the conduct at issue. By the terms of the

Government’s own Collaboration Guidelines, they demand “antitrust scrutiny different from that

required for mergers.”1 Yet here, even though Plaintiffs cannot and do not deny the objective facts

about the NEA and its many self-imposed and DOT-imposed limitations, they ignore them all and

base this case on attacking a merger strawman rather than any actual data on the NEA’s real-world


1
 See U.S. Dep’t of Justice and Fed. Trade Comm’n, Antitrust Guidelines for Collaborations
Among Competitors (2000), § 1.3 (“Collaboration Guidelines”).


                                                3
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competitive effects. In sharp contrast to the DOT, Plaintiffs chose to speculate, not “wait and see”

to assess the NEA on its actual merits.

        The parties did not enter into the NEA to replicate a merger, control the decisions of each

other, or facilitate changes to each other’s business models. Rather, the overwhelming evidence

surrounding the negotiation and consummation of the NEA shows that the parties sought to use

the NEA to become stronger competitors in a region dominated by United Airlines and especially

Delta Airlines. The NEA addresses competitive weaknesses that JetBlue and American had in

New York and Boston, particularly in competing with United and Delta for local originating

passengers and corporate customers. In New York, United and Delta are each roughly twice as

large as each of JetBlue and American, and they have used this network size advantage to continue

to gain market share at JetBlue’s and American’s expense. Because of slot restrictions at

LaGuardia and John F. Kennedy airports in New York, neither JetBlue nor American has an

independent path to close this network disadvantage and reverse that trend. It is a similar dynamic

in Boston, where Delta has used its global network and an aggressive growth plan to threaten

JetBlue’s longtime leading position. There is nothing JetBlue can do independently to answer

Delta’s network offerings.

        The NEA upends the competitive dynamic in Boston and New York and—in Delta’s words

again—“                                                           .”2 It creates a broader network

without a merger. Overnight, it’s a new ballgame.

        In New York, the NEA network now serves approximately the same number of nonstop

routes as Delta and United, and offers more daily seats. While, before the NEA, American and

JetBlue each served fewer than 35 of the top 50 most heavily traveled routes from NYC, with the


2
    DX-0238 (                                                                 ), at -0002.


                                                 4
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NEA, the two carriers together served 47 out of 50 as of August 2022, essentially matching Delta

and United (who serve all of those 50 markets). In Boston, the “NEA network” is a much better

match for Delta than what JetBlue and American offered separately, creating a more, not less,

competitive environment.

       These network benefits are undeniable—and undeniably good for consumers. As one of

Plaintiffs’ few airline witnesses explains, the NEA allows JetBlue and American to “

                                                                  . 3 That statement could define

“procompetitive.” And importantly, JetBlue and American are taking northeast market share from

United and Delta for the first time in years—a sure sign of a procompetitive collaboration.

       Before this case, the Government readily acknowledged that larger, more integrated airline

networks, whether through mergers or alliances, “generate consumer benefits by facilitating

schedule improvements, by allowing for a more efficient allocation of aircraft across the network,

and through marketing synergies that could make the [combined carriers’] service more attractive

to consumers.”4 The legacy airline mergers that Plaintiffs now disparage all included some number

of highly concentrated routes, but also large network efficiencies. DOJ permitted them to close

with few or no remedies because even the most conservative estimates of consumer benefits from

an improved network exceeded potential harms on routes where the two carriers used to compete

directly. Applying that approach here leads at the very least to the conclusion that the NEA

deserves a chance to prove itself in the marketplace, the conclusion the DOT effectively reached.




3



4
 DX-1068 (Ken Heyer, Carl Shapiro and Jeffrey Wilder, The Year in Review: Economics at the
Antitrust Division, 2008–2009, Rev. of Indus. Org., Vol. 35, No. 4, (December 2009), pp. 349-
367).


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And, unlike a merger, there are no practical limitations to bringing a later challenge based on real

evidence of anticompetitive effects.

       Plaintiffs have cited no facts or law that justify condemning, through speculation alone, a

collaboration that to date is only doing good and which will always be subject to antitrust scrutiny

from the Government and private treble damages actions.

II.    FACTUAL BACKGROUND

       A.      American and JetBlue

       American and JetBlue are two of many airline competitors in the United States. American

is a “global network carrier” (a “GNC”) headquartered in Fort Worth, TX. Through use of “hub”

airports (like Dallas-Fort Worth (DFW) in Texas), American offers connecting itineraries that

connect thousands of cities – “from anywhere to everywhere.” As a GNC, American’s operations

are more complex and with that complexity comes a higher cost structure. The model works,

however, by using the network as a competitive differentiator.          American’s largest GNC

competitors are Delta and United, both of which have extensive service offerings in the Northeast,

much larger than American’s current offering in Boston and New York.5

       JetBlue, headquartered in Long Island City, NY, is a “low-cost carrier” or “LCC.” Given

their lower cost structure and more “point-to-point” networks (with very little reliance on “hub”

airports to create connecting itineraries), LCCs are able to offer lower fares than GNCs like

American, Delta, and United. JetBlue is unique among LCCs (like Southwest, and “ultra” LCCs




5
  GNCs are also referred to as “legacy carriers,” which operate with a hub-and-spoke model that
provides significant connectivity through large airport bases and infrastructure that has been
developed and strategically located over time. See, e.g., DX-0041 (July 2020 American Board of
Directors Meeting), at -0067 (“Our network advantage is driven by the strength of our hubs and
the proximity of spokes to our hubs”). Legacy carrier fares provide fulsome, multi-class service,
the ability to select a seat on most flights, and widespread lounge availability.


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or “ULCCs” like Frontier and Spirit) in that it aims to couple lower LCC fares with a higher quality

of travel. The presence of JetBlue (or other LCCs) on a route generally has a significant

(downward) impact on the level of fares. From JetBlue’s perspective, one of the primary goals of

entering into the NEA is to expand and amplify the “JetBlue Effect” (i.e., the tendency of fares to

significantly decrease and passenger traffic to increase when JetBlue enters a route), by taking

advantage of American’s broader network, and in effect “supercharging” JetBlue through more

growth in the Northeast.

         B.     Competition in Northeast Airline Markets and the Need for the NEA

         American and JetBlue entered into the NEA to create a true third network competitor to

Delta and United in the Northeast. Delta and United are the dominant carriers in this important

travel region (New York is the largest air travel market in the country). Delta and United each

offer local originating passengers in New York (i.e., travelers who reside or work in the area and

therefore begin their journeys in New York) roughly twice as many daily seats as American or

JetBlue alone, and many more nonstop destinations.6 United serves the New York market almost

exclusively from Newark International Airport (EWR) in New Jersey, while Delta has its largest

presence in New York at LaGuardia (LGA).             Because of the much smaller presence and

“relevance” in New York, American internally considered itself to be “a niche carrier in NYC,”7

more in the business of flying passengers to New York than serving the local originating passenger.

JetBlue has substantial New York operations, roughly the size of American’s, but it was facing

limitations in the infrastructure (access to gates and takeoff and landing slots) needed to operate

additional flying. As for Boston, Delta has in recent years rapidly grown into a more powerful



6
    2019 OAG data.
7
    DX-0011 (Sept. 2018 American NYC Strategy Update), at -0004.


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player,8 doubling in size since 2015, and poses a major threat to JetBlue because its ability to

leverage network strength that JetBlue lacks.9 American and JetBlue have, of course, sought to

improve their competitiveness in New York and Boston, with stated plans (at least pre-COVID) to

grow to some degree, but between infrastructure limitations and their network disadvantages

relative to United and Delta, there is no reason to think that on their own JetBlue or American

could have meaningfully changed their trajectories.10

          The NEA offered a game-changing solution to the fundamental problem of a weak network

proposition vis-à-vis passengers living in the greater Boston and New York areas. It was conceived

in the first half of 2020 (during the onset of the COVID-19 pandemic) based on the core belief that

working together through a limited alliance, JetBlue and American can offer consumers a better

network—and without merging, harmonizing business models, or coordinating pricing. The

express goals of the NEA include “[a]dress[ing the Parties’] ‘incomplete’ customer proposition

relative to DL/UA in NYC,” “[m]aximiz[ing] customer value and connectivity” in New York City




8
     See, e.g., DX-0259 (                                        ), at -0009 (“
                                            ”); DX-0111 (American 2021-2026 Five Year Plan),
at -0024                                                                          .”); DX-0257
(                                                ), at -0001 (
                               ); DX-0290 (Jan. 2019 JetBlue Board Presentation), at -0004
(showcasing a timeline of how “Delta [has] continue[d] to grow aggressively in Boston”).
9
  DX-0290 (Jan. 2019 JetBlue Board Presentation), at -0029 (“Threats. . . Delta growing larger
than JetBlue would eliminate many of our advantages and public claims.”).
10
   DX-0011 (Sept. 2018 American NYC Strategy Update), at -0005, -0003 (“B6 is investing in
their terminal in JFK but without access to more slots they cannot grow JFK and will always lag
behind DL in departures;” “AA had “no ‘organic’ path to secure a leadership position in NYC. . .
. In this landscape we have no ability to grow – even absent gates/slots/airport restrictions, growing
NYC is prohibitively expensive.”); DX-0111, (American 2021-2026 Five Year Plan), at -0024
(“Similar to NYC, [American] has continually lost share in BOS while JetBlue has faced a growing
threat from Delta.”).


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and Boston, and “[i]mprov[ing] overall customer relevance/competitiveness in the Northeast

region.”11

         C.     The NEA Is a Narrowly Tailored Collaboration, Not a Merger, And Is
                Focused on Growing Traffic to Compete with United and Delta

                1.     The NEA Features Multiple Components of Collaboration Each
                       Designed to Generate Growth

         The NEA joins in an alliance structure American and JetBlue flights to/from Boston’s

Logan Airport (BOS) and to/from New York’s Kennedy (JFK), LaGuardia (LGA), and Newark

(EWR) airports (collectively, the “NEA Airports”).12 The purpose of the NEA is to create growth

through a much better utilization of the Parties’ northeast assets—growth in absolute terms (more

flights, more seats, etc.) and growth relative to United and Delta. The NEA achieves this growth

through multiple components specified in contracts, each aimed at aligning the parties’ incentives

in the narrow but vitally important respect of maximizing growth and improving the quality of

travel in the Northeast. The NEA is not a merger: the carriers maintain complete and separate

control of their independent brands, business models, product offerings, pricing (setting of fares),

profits and losses, and aggregate capacity decisions (and all capacity decisions outside the NEA

airports). The NEA works because each airline brings its independent strengths and business

models to the table. The key components of the NEA include codesharing, schedule optimization

(including sharing of slots and gates at NEA airports), revenue sharing, and frequent flier program

integration.




11
     DX-0037 (undated American internal deck discussing NEA), at -0002.
12
   One exception is that JetBlue’s transatlantic flying from NEA Airports (including JetBlue’s
recently launched service to London Heathrow) is not included in the NEA, although American’s
transatlantic service from NEA Airports is part of the NEA.


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       Codesharing. Codesharing is an arrangement where one carrier (the “marketing carrier”)

places its airline “code” on another carrier’s (the “operating carrier’s”) operated flight, allowing

the marketing carrier to sell seats on the operating carrier’s flight. With codesharing in the NEA,

American can sell seats on JetBlue’s flights and vice versa. Codesharing increases the available

travel options for consumers, since American can list all of JetBlue’s NEA flights for sale, for

example, on its website www.aa.com (and vice versa for JetBlue with American’s flights).

Codesharing can also facilitate new connecting flight options and itinerary possibilities that neither

carrier could offer on its own. As Plaintiffs agree, the benefits of codesharing alone are limited,

but when it is combined with other components of the NEA, including revenue sharing and

capacity coordination, codesharing unlocks substantial consumer benefits.

       Schedule optimization. A central component of the NEA is optimization of American’s

and JetBlue’s route network and schedule of flight times and frequencies at the NEA Airports. It

should be no surprise that if one were to take JetBlue and American schedules as fixed, they would

make poor, even irrational, combined schedules. They would be doing some amount of flying at

the same time, and it is very unlikely that their schedules would facilitate good connections.

Through the NEA, American and JetBlue teams create proposed schedules that make sense

operationally, competitively (to beat United and Delta), and most of all from the passenger’s

perspective. To facilitate these schedule and network changes, the Parties have agreed to pool

airport infrastructure, such as takeoff and landing slots (essentially rights to operate) and airport

gates, to maximize efficiency and create opportunities for new flights and frequencies. This level

of coordination and deployment of shared assets is essential to achieve the growth goals of the

NEA because it is precisely what allows American and JetBlue to create an NEA network capable




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of competing with Delta and United in the Northeast (i.e., a network that facilitates connections

and offers an attractive schedule).13

          Importantly, however, the carriers do not coordinate aggregate capacity.14 In other words,

while the Parties will coordinate the most efficient use of slots and gate assets in New York and

Boston and decide, for example, the optimal number of frequencies to particular destinations, they

will not coordinate more generally on how much capacity each carrier will have overall, or what

types of planes they purchase or contribute to the NEA (or not). And even within the NEA each

carrier maintains independent control of final decision-making, including on capacity and network

strategy at the NEA airports.

          Revenue sharing. Under the terms of the Mutual Growth Incentive Agreement (“MGIA”),

one of the operative agreements in the NEA, the Parties have agreed to share revenue from NEA

flights based on a specific formula that is designed to incentivize growth.            The terms are

challenging to understand, but the rationale for revenue sharing is not.

          A long history of airline alliances with and without revenue sharing has shown that alliance

partners that do not share revenues (or profits), do not fully commit to the alliance and its potential

for generating consumer benefits. They make self-interested decisions to constrain the resources

they commit to the alliance, for example codesharing only on routes where they will keep most of

the revenue. Revenue-sharing that allows the airlines to participate in each other’s growth solves

this problem. They prioritize getting a passenger on an alliance aircraft rather than just their own

aircraft specifically, which means that when establishing a joint schedule they do not need to fight


13
   American has a separate alliance with Alaska Airlines, called the West Coast International
Alliance, or WCIA. The WCIA includes revenue-sharing, but unlike the NEA the WCIA requires
less capacity coordination because the focus of the WCIA is facilitating connections between
Alaska’s domestic U.S. flying and American’s trans-Pacific services.
14
     This undermines a key Plaintiff argument that the NEA promotes “capacity discipline.”


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over who gets the “best” opportunities created by the alliance. They focus on the network and

schedule.    The DOT has repeatedly recognized that revenue sharing provides participants

“common incentives” to promote joint capacity growth, thereby allowing them to achieve

“efficiencies and deliver benefits that would not otherwise be possible.”15

       The MGIA is a modified version of the revenue-sharing formulas that have been prevalent

in international airline alliances for years and endorsed by the DOT. To the extent it has any

distinctive features, it is how it incentivizes growth in the NEA regions—a clearly procompetitive

incentive.

       The MGIA works by determining the incremental revenue (i.e., revenue over a baseline

amount) generated by the NEA during a given period and distributing that revenue in accordance

with each carrier’s share of capacity in the NEA in that year. For example, if in 2022 JetBlue

provides 55% of NEA capacity, it will receive 55% of incremental revenue, but if in 2023 it

provides 60% of NEA capacity, it will receive 60% of incremental revenues. Furthermore, there

is another mechanism in the MGIA that subsidizes growth—so much so that Plaintiffs’ expert

suggests it is too good to be true. At bottom, the MGIA formula protects carriers from one of the

risks of growth, which is that adding new capacity on a route tends to lower average fares on that

route. The MGIA formula gives the carrier adding capacity the benefit of an assumption that

average fares did not go down. The MGIA therefore encourages American and JetBlue to grow


15
   Continental-United-Air Canada-Austrian-bmi-Brussels-LOT-Lufthansa-SAS-TAP, DOT-OST-
2008-0234, Show Cause Order 2009-4-5, at 4, 19; see also U.S.-Japan Alliance Case, DOT-OST-
2010-0059, Order 2010-10-4,( at 14, 17 (refusing to place restrictions on revenue sharing because
it was “intrinsic to the efficiencies and benefits promoted by a grant of antitrust immunity” and
noting that “without . . . sharing of costs and revenues, two carriers are more reluctant to closely
align their frequent flyer programs . . . [and] less likely to invest in other product improvements .
. . .”); Delta et al., DOT-OST-2013-0068, Order 2013-8-21, at 17 (granting antitrust immunity
because it would “allow the [applicants] to engage in the kind of revenue and benefit sharing that
is necessary to alleviate the commercial risks and create substantial public benefits”).


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the NEA by growing their individual contributions to NEA capacity. Again, Plaintiffs’ economists

deny none of this. They literally choose not to believe the Parties will behave consistent with the

incentives created by the terms they negotiated over, and therefore model the NEA as if the Parties

do something else.

       Frequent Flyer Program (FFP) Integration. As part of the NEA, American and JetBlue

have expanded their frequent flyer programs to provide reciprocal benefits, so American

AAdvantage members can earn miles while flying on JetBlue NEA flights and JetBlue TrueBlue

members can earn miles while flying on American NEA flights. American AAdvantage points

can be redeemed for travel on JetBlue and (soon) vice versa. This integration is particularly

important for corporate travelers (and corporate travel programs) who place significant value on

frequent flier programs, accruing points, and redeeming benefits. With FFP alignment and NEA

codesharing being included in the respective and entirely independent American and JetBlue

corporate travel programs, the NEA addresses an important element of competition for air travel

and source of consumer benefits, especially competition for corporate demand in the Northeast.

       In sum, everything about travel in the NEA—the network of destinations, the timing and

frequency of flights, the choice of equipment (plane), the airport experience, and the frequent flier

benefits—is vastly better for consumers, and this is apparent from evidence in the record today.

Passengers at the NEA airports can, today, book travel for American and JetBlue on either carrier’s

website and choose from the combined NEA network of flights. Because of revenue sharing, each

of American and JetBlue have an incentive to market and sell all of those flights, making any and

all of their seats available whether booked through American or JetBlue.             With capacity

coordination, passengers now have the option to depart at a variety of convenient times to

maximize flexibility. Regardless of which carrier a passenger flies on, they will earn frequent flier




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points that they can redeem on either carrier, and for the most frequent fliers that have achieved

greater status, that status will be recognized across American and JetBlue in the NEA.

       At the same time, even with all these integrative efficiencies from the NEA, American and

JetBlue have maintained their separate identities, with American still focused on competing most

closely with the other domestic GNCs (Delta and United), while JetBlue is now armed with the

tools needed to accelerate its growth strategy and “expand the JetBlue Effect.” The fact that there

is no pricing coordination is also evident simply by comparing American and JetBlue fares on

routes where they both offer service. JetBlue continues to leverage its lower cost structure to

undercut American’s fares as it consistently has. Nothing about that important competitive

dynamic has changed in the least on account of the NEA.

               2.     The Parties Entered An Agreement with the DOT Requiring
                      Additional Growth and Providing Safeguards Against Potential for
                      Anticompetitive Harm

       In July 2020, shortly after the NEA was announced, Defendants submitted copies of the

NEA, the MGIA, and the Codeshare Agreement to the DOT and DOJ for regulatory review

pursuant to 49 U.S.C. § 41720 (DOT’s statutory waiting period allowing for review of airline

alliances) and 15 U.S.C. § 1312 (DOJ’s civil investigative authority), respectively. Defendants

fully cooperated with both agencies to facilitate their reviews, including by producing significant

volumes of data and documents concerning the NEA and competition in the Northeast.

       By November 2020, the DOT was prepared to allow the Parties to proceed with the NEA,

but wanted some assurances that growth encouraged by MGIA would actually take place.16

Defendants continued to work with the DOT on a series of commitments and safeguards that would



16
   Ex. C to Defs.’ Opp. to Pls.’ Mot. in Limine No. 2, AA-NEA-01526166 (Nov. 12, 2020 email
from Robert Wark to Todd Homan FW: AA/JetBlue NEA – CONFIDENTIAL), at -166.


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ensure that the NEA remained procompetitive, generating the significant growth that it promised,

with safeguards and monitoring in place to ensure that there was no anticompetitive harm. These

discussions culminated in a letter agreement reached with DOT in January 2021, in which

Defendants committed to divestitures of seven slot pairs at JFK, leases of six slot pairs at DCA,

and potential additional slot divestitures that would be triggered if Defendants failed to meet

substantial growth commitments in the initial years of NEA implementation. Additionally,

Defendants agreed (a) that JetBlue will not exit any non-seasonal, nonstop route from JFK that it

served as of February 2020 (with limited exceptions), (b) to implement mandatory limitations on

out-of-scope communications including discussion regarding fares or out-of-scope flying, (c) to

amend the NEA to ensure that slot leases will be in place for sufficiently long duration, and (d) to

maintain and provide to DOT detailed records regarding the implementation and operation of the

NEA.17

         In January 2021, Defendants voluntarily made several amendments to the NEA and MGIA

to alleviate concerns identified by DOJ. The full story of these amendments is told in Defendants’

memorandum opposing Plaintiffs’ in limine motion concerning “carveouts.” In short, DOJ told

the Parties in October 2020 that it had particular concerns around revenue-sharing and capacity

coordination on non-stop overlap routes in the NEA where American and JetBlue compete but

there was little other competition. Therefore, to address DOJ’s concerns and further assure DOT

that the NEA will remain procompetitive, Defendants amended the NEA and the MGIA to exclude

coordination and revenue sharing on routes where Defendants were the only significant carriers or




17
     See generally DX-0063 (Jan. 10, 2021 DOT Agreement).


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where there was only one other carrier providing nonstop service on the route.18 These “carve out

routes” are updated annually to account for changes in competitive conditions.

         D.     The NEA Mitigates Network Disadvantages and Facilitates Growth by Both
                American and JetBlue

                1.     The NEA Creates Growth Through More Efficient Use of Scarce
                       Complementary Assets

         Together, the components of the NEA mitigate and even overcome American’s and

JetBlue’s disadvantages in the Northeast, creating the opportunity for growth that neither carrier

could achieve on its own. The NEA leverages each carrier’s complementary assets and consumer

propositions at the NEA airports, with each carrier providing a key ingredient for growth that the

other is missing. As a GNC, American has an extensive domestic network and is well-capable of

transporting passengers from anywhere in the United States to the Northeast, but it lacks the

presence that Delta has (in Boston and New York) and that United has in New York to attract local

originating passengers. American’s offering in the Northeast is simply not comparable to that of

Delta and United. Especially for corporate customers, pre-NEA, American was an afterthought in

the Northeast, considering itself “a niche carrier in NYC.”19

         JetBlue, on the other hand, had a sizeable footprint and history in Boston, but in recent

years has quickly lost ground to Delta, which set its sights on Boston and now has the most daily

flights from Boston. And in New York, JetBlue’s desire to grow has been significantly hampered

by its inability to reliably secure convenient takeoff and landing slots. JetBlue is also significantly




18
  See generally DX-0185 (Jan. 12, 2021 letter from Dan Wall to DOJ); Ex. N to Defs.’ Opp. to
Pls.’ Mot. in Limine No. 2, JBLU-LIT-01552527 (July 9, 2021 email from Reese Davidson to
Todd Homan et al.), at -527.
19
     DX-0011 (Sept. 2018 American NYC Strategy Update), at -0004.


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              Southwest: NEA                                                               .”23

              Alaska: NEA creates a “

                                                                         .”24

          E.       The NEA is Working, Generating Significant Consumer Benefits

          In the 18 months since the Parties began implementing the NEA, it has generated consumer

benefits, as planned, creating growth in flying, new destinations, and better schedules. Even in the

wake of the COVID-19 pandemic and rocky recovery, there are hard data to support that the NEA

has created consumer benefits, including:

              Approximately 50 new nonstop routes that were not previously served by American or
               JetBlue have been introduced at the NEA airports;

              17 new international flights launched by American or JetBlue out of New York since
               the NEA was implemented, including nonstop flights from JFK to Athens, Delhi, Doha,
               and Tel Aviv;

              Replacement of smaller aircraft with larger aircraft;

              Cross-selling of each other’s services through codesharing that greatly expands
               consumer choice;25

              Frequent flyer reciprocity that allows members to accrue frequent flyer miles on the
               other carrier’s flights;26

              Frequent flyer status benefits recognized on each other’s flights;27


23

24
     DX-0221 (                                                                        ), at -0002.
25
     See id. (“The airlines are now codesharing on 185 routes”).
26
  See id. at -0027 (The NEA provides “[c]ross carrier mileage earn and AAdvantage members
may redeem miles for JetBlue flights.”).
27
  See id. at -0012 (“New AAdvantage Status Benefits on JetBlue” include “Complimentary Even
More Space seats for all Status Members,” “Complimentary Same Day Switch,” and the ability
“to access Admirals Club lounges.”); DX-0096 (undated internal American presentation about the


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          Expanding the network offering to corporate customers by including the NEA
           codeshare flights in each airline’s unilateral corporate programs;28

          Schedule improvements that expand time of day options on existing routes;29

          Busing solution between Terminals 5 and 8 in JFK that greatly reduces connecting
           times;30 and

          IT improvements to facilitate a more seamless customer experience.31

       These improvements are not just “COVID recovery” (as Plaintiffs will argue). The NEA

has enabled (and is enabling) a dramatic increase in capacity at the NEA Airports, significantly

outpacing all other carriers, as shown below:




NEA), at-0002 (“AAdvantage status and TrueBlue Mosaic members now get enhanced benefits
when traveling on either carrier”).
28
   See DX-0135 (July 2021 American NEA Network Update), at -0006 (American providing a
table demonstrating a number of new peak-day trips to high frequency markets).
29
  See id. at -0007 (American providing a table demonstrating the “Scheduling Improvement” in
the DCA-BOS market leading to broader timing options for customers).
30
  See DX-0091 (Mar. 2021 JetBlue presentation about the NEA), at -0006–0016 (describing the
Bus solution connecting terminals 5 and 8 at JFK).
31
  See DX-0096 (undated internal American presentation about the NEA), at -0001, 0003 (listing
IT integrations).


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predicted that the NEA will attract about 5.7 million passengers annually—which Dr. Israel

quantifies as roughly $635 million in consumer benefits—once the NEA is fully implemented.33

Dr. Israel’s estimate is conservative because the planning teams did not include any additional

international flying, like American’s new routes from New York to Athens and Tel Aviv, that the

carriers launched as a result of the NEA.34

          Second, to confirm that predictive analysis with actual data, Dr. Israel looked at actual

share changes realized by American and JetBlue since implementation of the NEA. Dr. Israel

observes based on publicly-available data that the NEA is already attracting more than 3.3 million

incremental passengers annually compared to the standalone carriers pre-NEA, equaling $511 to

$610 million in consumer benefits due to a substantial reduction in quality-adjusted prices.35 This

estimate only reveals a portion of the NEA’s ultimate benefits, with additional benefits to come as

the NEA continues to be rolled out and the effects of COVID-19 (on business travel in particular)

continue to recede.36 Moreover, it is a conservative estimate because it does not account for

competitor airlines’ procompetitive responses to the NEA, such as capacity increases on existing

routes and improvements to their own networks; nor does it account for American and JetBlue’s

share gains at non-NEA airports as a result of a better network in the Northeast.37




33
     Mark Israel Expert Rep. ¶¶ 279-80.
34
     Id. ¶¶ 276, 279.
35
     Id. ¶ 286.
36
     Id. ¶ 281.
37
     Id. ¶ 283.


                                                 22
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           Not surprisingly, competitors have in fact responded to the increased competition from the

NEA, generating even more benefits for consumers.38 Delta and United have both announced

expansion and product improvement plans.39              Competitors of JetBlue and American have

repeatedly characterized the NEA as a major development in the Northeast that will spur

competition in that region and enhance JetBlue’s and American’s networks.40

           Plaintiffs have and will attempt to diminish these benefits by citing the carriers’ 2019

standalone growth plans. That is, Plaintiffs’ main argument in this case is not to deny the growth


38
     DX-0221


39
     See




40
     See, e.g., DX-0238 (                                                                 ), at -0002
(
                                                                                        ); DX-0242
(                                                       ), at -0001 (




                              );
                                                                        ); DX-0501 (
                                                        ), at 0010 (

                                                            );

                       ; DX-0221 (
            ), at -0002 (

           );

                                   ).


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but rather the need for the NEA to achieve it, supposedly because JetBlue and American had

unrealized standalone potential for growth. Every business looks for, and analyzes, prospects for

growth. American and JetBlue were no different. But, profitability is a prerequisite to effective

growth, and many growth aspirations never come to pass. For American and JetBlue, those

realities included a debilitating network deficiency and no path to close that deficiency. The NEA

changes that calculus in two ways: (1) it gives each carrier a broader line up of products, one that

finally puts them on par with United and Delta; and (2) it gives them a revenue sharing agreement

that de-risks and encourages growth and entry into new markets. The NEA has even given the

carriers the confidence to commit to meaningful growth commitments at the risk of losing slots

(per the agreement with DOT), despite the continuing uncertainties arising from COVID. The

Plaintiffs’ only response is to cherry pick vague pre-NEA (and generally pre-COVID) statements

that suggest an aspiration to grow, but with no clear plan, with no commitment of resources, and

most of all nothing to address the network deficiencies. Plaintiffs cannot dispute that the NEA

makes American and JetBlue stronger competitors because of how it changes their network

propositions.

         Dr. Israel’s estimates of consumer benefits from the NEA are based on what the carriers

expected the NEA to achieve and what, even amidst all of the disruption from COVID, they have

been able to achieve. JetBlue’s own documentation analyzing the NEA describes true growth,

requiring dozens more aircraft (an incremental ~40 aircraft into the fleet plan).41 The commitments

the parties made to the DOT require 15% true growth. That is the whole point of the NEA, which

unlocks the potential for more growth and opportunities than either American or JetBlue could

pursue on their own.


41
     DX-0356.


                                                24
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          F.     There Is No Evidence of Any Adverse Effects

          As described above, there is significant, demonstrable, and quantifiable evidence of

procompetitive benefits and consumer benefits created in just the first 18 months of the NEA.

Plaintiffs have put forth no evidence, because there is no evidence, of any adverse effects from the

implementation of the NEA. Plaintiffs’ only “evidence” of adverse effects from the NEA will

depend on their expert witness Dr. Nathan Miller, who by his own admission has made no attempt

“to analyze the NEA effects with post-implementation data.”42 If Dr. Miller is permitted to

testify,43 his testimony will rely on a merger simulation to model the NEA, even though the NEA

is not a merger for the reasons described above. Dr. Miller’s model purports to predict the likely

price effects of the NEA in the future, assuming it has merger-like effects and ignoring the actual

terms of the NEA and MGIA.

          To test whether there have been any adverse fare effects as a result of the NEA, based on

actual fares since implementation of the NEA, Defendants’ expert Dr. Dennis Carlton analyzed

the change in actual fares on NEA nonstop overlap routes between the second, third, and fourth

quarters of 2019 and 2021, respectively,44 and compared this to the change in actual fares on a set

of “control” routes unaffected by the NEA over the same time period. Dr. Carlton found, and will

testify, that the evidence cannot support a claim that the NEA has harmed competition.




42
  Miller Dep. 31:3-20 (“Q: [D]id you at least attempt to analyze the NEA effects with post-
implementation data? A: No.”).
43
  Defendants have moved to exclude Dr. Miller from offering opinions or testimony that rely on
the results of his “merger simulation” model as unreliable for purposes of modeling the
competitive effects of the NEA, which is not a merger. See ECF No. 141 (Defs. Daubert and
Mot. in Limine).
44
     The most recent periods post-NEA implementation for which data are publicly available.


                                                 25
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       In summary, since the implementation of the NEA, American and JetBlue have

significantly, and measurably, expanded and improved travel in the Northeast, spurring

competitive responses from other carriers. Plaintiffs themselves cite no evidence of any present

adverse effects. The NEA remains subject to the antitrust laws in the future, and American and

JetBlue remain liable in the event the NEA causes anticompetitive effects that arise in the future.

III.   LEGAL STANDARD

       A.      The Rule of Reason

       The legal analysis of the NEA begins with the Supreme Court’s recognition that “many

joint ventures are calculated to enable firms to do something more cheaply or better than they did

it before,” and its accompanying admonition that “the fact that joint ventures can have such

procompetitive benefits surely stands as a caution against condemning their arrangements too

reflexively.” Nat’l Collegiate Athletic Ass’n v. Alston, 141 S. Ct. 2141, 2155 (2021); see also

Collaboration Guidelines at 1 (“[C]ollaborations often are not only benign but procompetitive.”);

Phillip Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and

Their Application ¶ 2100 (4th ed. 2018) (joint ventures “are presumptively lawful,” and courts

may only condemn “those provisions that seem, on balance, to produce greater competitive harms

than efficiency gains.”).

       As Plaintiffs concede, the full “rule of reason” applies when assessing the NEA, under

which the analysis proceeds in three stages:

           First, Plaintiffs have the threshold burden to prove “that the challenged restraint has a
            substantial anticompetitive effect.” Id. at 2155. Plaintiffs may meet that burden either
            “directly” with evidence of higher prices or restricted output, or “indirectly” by
            showing that firms with market power are engaging in conduct that predictably harms
            the competitive process.




                                                 26
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           Second, if Plaintiffs meet their threshold burden, “the burden then shifts to the
            defendant[s] to show a procompetitive rationale for the restraint.” Id. This is a modest
            burden easily met with respect to the NEA.
           Third, upon a showing of a procompetitive justification, the burden shifts back to the
            Plaintiffs to show that the same “procompetitive efficiencies could be reasonably
            achieved through less anticompetitive means.” Id. A “less restrictive alternative” must
            be substantially less restrictive, practical, and equally effective as the challenged
            conduct in generating procompetitive benefits.

       The evidence will show that Plaintiffs cannot carry their first burden, let alone their third-

step burden, assuming the analysis gets to that step.

       B.      Plaintiffs Cannot Show That The NEA Has Produced Or Is Producing
               Anticompetitive Effects

       To prove anticompetitive effects under a rule of reason analysis, Plaintiffs are required to

show “actual detrimental effects [on competition], . . . such as reduced output, increased prices, or

decreased quality in the relevant market.” Ohio v. Am. Express Co., 138 S. Ct. 2274, 2284 (2018).

While this can be proven “indirectly” as a matter of inference, and courts “sometimes describe[]

‘direct’ and ‘indirect’ proof as alternative ways of satisfying the adverse‐effect requirement, there

is really only one way to prove an adverse effect on competition under the rule of reason: by

showing actual harm to consumers in the relevant market.” MacDermid Printing Solutions LLC

v. Cortron Corp., 833 F.3d 172, 182 (2d Cir. 2016).

       Plaintiffs insist that “Section 1 is concerned with likely as well as ongoing anticompetitive

effects,” and that an actual effects standard would leave the Government powerless to prevent

anticompetitive practices. Pltfs.’ Opp. to Mot. To Dismiss, ECF 80, at 11. That misses the point.

In antitrust as in other legal disciplines, the tendency of a behavior to have certain effects can be

used as inferential evidence that it is having those effects. Thus, one commonly sees phrases such

as “likely anticompetitive effects” in lists of factors relevant to a rule of reason analysis. FTC v.

Actavis, Inc., 570 U.S. 136, 149 (2013). Defendants are not arguing that the Court cannot consider


                                                 27
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the NEA’s “likely” effects; it most certainly should. But that factor (and others) are assessed in

relation to whether the predicted adverse effects are “real and immediate,” as Section 1 requires,

“not conjectural or hypothetical.” In re New Motor Vehicles Canadian Export Antitrust Litig., 522

F.3d 6, 14-15 (1st Cir. 2008) (reversing finding that plaintiff had established threat of injury where

it did not present any evidence that circumstances would change such that the predicted harm

would likely occur). In other words, the analysis of adverse effects in a Section 1 case does not

end at “likely,” as it does in merger challenges under Section 7 of the Clayton Act. Instead,

likelihoods are part of the required analysis of “actual detrimental effects [on competition], . . .

such as reduced output, increased prices, or decreased quality in the relevant market.” Am.

Express, at 2284.45

       Plaintiffs here, however, pursue the rare case under the rule of reason without proffering

tangible evidence of actual adverse effects, i.e., some proof that consumers have actually been

harmed. In fact, the Government intends to argue that it is not possible to tell whether the NEA

has harmed consumers because (1) the effects of the COVID-19 pandemic on the industry make it

too difficult to measure,46 and (2) the fact of the litigation means the carriers’ current behavior

should not be trusted (they will begin anticompetitive behavior post-trial). With respect to the first

point, airlines are still competing as they recover from the depths of COVID, and generating reams

of publicly available pricing and output data as they do. Economists can and regularly do model



45
   Dicta in Addamax Corp. v. Open Software Found., Inc., 152 F.3d 48, 53 (1st Cir. 1998), states
that it is “technically” possible to establish adverse effects through a combination of “a sufficiently
high risk of an anticompetitive effect, coupled with marginal benefits.” This is not a materially
different standard than the articulation in New Motor Vehicles and similar cases since the
conditions that would establish the “sufficiently high risk” referenced in Addamax would likely
permit an inference of “real and immediate” adverse effects as well.
46
  Miller Dep. Tr. 34:19-25 (“[M]y opinion is that the data do not allow us to isolate the effects of
the NEA.”).


                                                  28
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the competitive effects of transactions while controlling for various factors, even historic demand

shocks like 9/11, the Great Recession, and COVID-19. Defendants’ economic experts have done

just that, and the actual data reflects that the NEA has had no negative effects and a strongly net

positive effect on consumers. As for litigation risk, that risk will never go away – the NEA will

forever remain subject to the antitrust laws. Assuming for the sake of argument that the NEA

causes harm in the future, the DOJ or private plaintiffs could bring a Section 1 claim at that time

– presumably then with some actual evidence as opposed to hypotheses and conjecture.

       Indeed, if Plaintiffs are right and it is not possible to discern harm because of COVID and

litigation risk, that logically should lead to two conclusions: (1) the case has been brought

prematurely, and (2) on the present record Defendants prevail. The only reason the Court is faced

with these challenges is that, unlike the DOT, Plaintiffs decided to force this case to decision now,

attempting to condemn the NEA with no evidence of actual harm, and to that end press what can

only amount to an “indirect” proof case, if any case at all. While that approach is “technically”

possible, Addamax, 152 F.3d at 53, there has never been a reported case in which an ongoing,

efficiency-enhancing joint venture like the NEA was condemned based solely on predicting adverse

effects with indirect proofs.

       The reason is partly because, “as a practical matter, most courts would be unlikely to

condemn an otherwise legitimate joint venture absent some showing of anticompetitive effect.”

Id. More importantly, a legitimate joint venture will rarely, if ever, provide a reasoned basis for

an inference of adverse effects.         The inference requires conduct that is “inherently

anticompetitive.” Ohio v. Am. Express Co., 138 S. Ct. 2274, 2289 (2018). That is, the inference

arises from the expected effect of the behavior, which must be to make markets less competitive

and thus harm consumers. Joint ventures, however, are often procompetitive. Alston, 141 S. Ct.




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at 2155. So unless the joint venture partners have plainly overreached and unnecessarily restricted

competition, no inference of adverse effects is reasonable or appropriate.

         Plaintiffs’ Merger Narrative. This is perhaps why Plaintiffs reach for the untenable

proposition that the NEA is effectively a merger. Mergers, by definition, eliminate existing

competition between the merging parties. And the “merger simulation” that Plaintiffs offer as

proof of adverse effects always predicts higher prices – it is a static model that completely ignores

all other factors (like the fact that the NEA incentivizes increased capacity, or that Delta and United

have already responded to the NEA). Regardless, the NEA is not a merger, and neither strained

analogies to mergers nor analytical tools from the merger context can predict the NEA’s effects,

especially if (as Plaintiffs have done) one ignores every other aspect of the NEA, including the

growth incentives its creates and competitive responses by other airlines.47           Yet Plaintiffs,

apparently unable to come up with anything better, cite Dr. Miller’s static merger simulation

results as the end of the analysis on competitive effects. Plaintiffs’ “merger simulation” should

not even be received into evidence, let alone credited.48

         Capacity Discipline. Plaintiffs have also introduced a theory, championed by their expert

witness Dr. Robert Town, that the NEA will increase the likelihood of “capacity discipline” in the

airline industry. According to Dr. Town, historical increases in industry concentration, which were

the result of airline mergers beginning around 2009 and ending in 2013 (Delta/Northwest,

United/Continental, Southwest/AirTran, and American/US Airways), enabled “legacy” carriers49


47
  See Rothery Storage & Van Co. v. Atlas Van Lines, Inc., 792 F.2d 210, 220 (D.C. Cir. 1986)
(explaining that merger standards were developed for and “apply to mergers between firms that
ordinarily have no internal competition[,] . . . [not] firms that are merely limiting internal
competition and are not merging”).
48
     See generally ECF No. 142 (Mem. in Support of Defs. Daubert and Mot. in Limine).
49
     The predecessors of American, United, and Delta.


                                                  30
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to coordinate their behavior, and specifically to suppress the growth of capacity (i.e., to engage in

“capacity discipline”) to put upward pressure on airfares. To support his theory, Dr. Town relies

on a series of regressions measuring the differences between actual legacy capacity and capacity

predicted based on the historical relationship between capacity, GDP, and jet fuel prices. Dr. Town

purports to identify a period of “capacity discipline” (or less growth by legacy carriers) until

around 2016, when he says capacity discipline begins to “unravel.” Note that this is about what

happened six to thirteen years ago. Despite that huge gap in time and circumstances, and without

any evidence or even explanation, Dr. Town alleges that the NEA will somehow bring back

“capacity discipline.”

       There are two major technical problems with Dr. Town’s capacity discipline theory. First,

as Defendants’ expert Dr. Darin Lee will testify, the overwhelming majority of lower legacy

capacity that Dr. Town identifies, started way before the period that Dr. Town focuses on. These

changes by legacy carriers were in direct response to increasingly intense competition from LCCs

that were growing rapidly and capturing share of air travel, which combined with a series of

external shocks (such as 9/11 and then the Great Recession), undermined the profitability of legacy

carriers, caused billions of dollars of losses, and forced these carriers to aggressively pursue cost-

saving measures, including cutting uneconomic capacity. It is no wonder that every one of today’s

surviving legacy carriers filed for bankruptcy during this period, a fact that goes wholly

unaddressed in Dr. Town’s revisionist history of the airlines. The legacy carriers cut capacity

because they needed to, not for some sinister plan to raise airfares.

       The second major flaw in Dr. Town’s analysis is that he fails to make any attempt to control

for this LCC growth and its effects on legacy capacity. When Dr. Lee accounts for LCC growth




                                                 31
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in Dr. Town’s capacity discipline model, the alleged evidence of capacity discipline all but

disappears.

       In all events, Dr. Town’s argument that the NEA risks capacity discipline is completely

divorced from the realities of what the NEA is and what it is intended to accomplish. Dr. Town’s

theory is about what decisions carriers make with respect to their aggregate industry capacity,

roughly speaking how many planes they buy and put into service. There is no coordination of

aggregate capacity in the NEA; in fact, it is strictly off limits. It is no wonder then that Plaintiffs

do not have a single piece of evidence discussing the NEA as an opportunity to cut back on capacity

growth.    To the contrary, all of the contemporaneous business documents, including those

presented to the Boards of American and JetBlue, focus on the NEA as an opportunity for growth

to compete with United and Delta, not some amorphous concept of “discipline.” American and

JetBlue would not have entered into the NEA and MGIA, a contract that rewards growth, if their

intent was the opposite.

       Loss of JetBlue Effect: This case began with a Complaint that alleged the most serious

danger to competition posed by the NEA was that American would somehow control or co-opt

JetBlue, causing it to change its “disruptive” business model and dampen if not eliminate the low

fares that cause the JetBlue Effect. There is not a shred of evidence that has happened or will

happen. The NEA preserves and further expands JetBlue’s “disruptive” business model and

independence. JetBlue continues to undercut American’s fares every day on routes within the

NEA and outside of it. Since implementation of the NEA, JetBlue has (1) launched London routes

in 2021 with aggressive fares in competition with American and its alliance partners; (2) acquired

more Heathrow slots in 2022; (3) added capacity and routes from MIA and LAX in competition

with American; and (4) entered into a merger agreement with Spirit Airlines with the stated




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purpose of extending the reach of JetBlue’s disruptive business model.50 JetBlue remains JetBlue.

Significantly, Plaintiffs’ expert does not even try to model a loss of JetBlue Effect into his

competitive effects proofs.

       Customer Reactions: Another remarkable feature of this case, practically unheard of in

Government antitrust cases, is that Plaintiffs’ witness list does not include any customers

complaining about the effects of the NEA.51 Nor will the Court see any significant documentary

evidence of complaints or negative customer reactions to the NEA. The complaints the Parties

have received have been very few overall and mostly concerning “seamlessness,” meaning the

state of technical and operational integration between American and JetBlue, which is an ongoing

process.52 Overall, the NEA has been very positively received by passengers.

       Market Power and New York Market Definition: Plaintiffs will also fail to prove market

power, without which there can be no inference of adverse effects. Plaintiffs’ proposed proof of

market power is nothing more than summing American and JetBlue market shares as if they had

merged. But in respect to a collaboration, market power cannot be proven that way. See Areeda

& Hovenkamp, Antitrust Law: An Analysis Of Antitrust Principles And Their Application ¶ 2122b

(4th ed. 2018) (“Because the competitive threat [from a joint venture] does not result from a

reduction in the number of market participants—or indeed from any measurable increase in market



50
  Neither of Plaintiffs’ experts attempt to predict adverse effects by modeling the loss of the so-
called JetBlue Effect.
51
   The only purchaser of air travel on the witness list is a witness from the federal government
(Jerome Bristow of the GSA). And he testified that he was not aware of any situation in which
either American or JetBlue reduced service because of the NEA. Bristow Dep. Tr. 88:5-9.
52
  The Court will hear of customer complaints about American’s decision to discontinue its
Boston-New York LaGuardia shuttle service. But it will not hear that this has allowed JetBlue to
exercise market power on that route. Far from it, as JetBlue competes with Delta on a route that
has been severely affected by post-pandemic changes in business travel patterns.


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concentration at all—concentration indexes such as the HHI … are of less utility”). What is

required is proof that Defendants have the ability to raise prices by restricting output. Ohio v. Am.

Express Co., 138 S. Ct. 2274, 2288 (2018).

       There is no way Defendants have that power in a region dominated by United and Delta,

and the NEA does not create such power. Eighty percent of the Parties’ nonstop 2019 flights

to/from BOS did not even overlap. The Government focuses its attention on (and predicts most

adverse effects from) just 12 nonstop overlaps with Boston endpoints, but half of those are carved

out of the revenue-sharing and capacity coordination provisions, which are the only features of the

NEA that Plaintiffs rely on to support the use of a merger simulation to predict fare increases. The

remaining six routes are mostly highly trafficked, competitive routes such as Boston-Miami,

Boston-Los Angeles, and Boston-Chicago. It is specious to claim American and JetBlue have

market power on those routes.

       There is not even a good faith argument that JetBlue and American have market power in

New York. These markets are clearly dominated by United and Delta. And this is what leads to

Plaintiffs’ specious and result-oriented effort to deny United’s New York presence by defining its

New York hub—Newark Liberty Airport (EWR)—outside the “relevant markets” in this case.

Plaintiffs’ exclusion of Newark from its New York market definition belies industry evidence,

common sense, and the DOJ’s own allegation and expert proofs in its challenge to the

American/US Airways merger, in which it properly included Newark in the New York market

endpoints.

       The Court will hear Plaintiffs’ expert Dr. Miller try to wrap this absurd argument into the

DOJ’s Horizontal Merger Guidelines and its so-called “hypothetical monopolist test.” That work

leads to implausible predictions such as that a consumer would pay a “hypothetical monopolist”




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hundreds of dollars of overcharge on LaGuardia or JFK flights rather than take an existing, much

cheaper flight from Newark. It makes no sense.53 In reality, Plaintiffs are asking the Court to

ignore the cardinal rule of market definition which starts by asking what products or services

presently compete and then asks whether the market may need to be broader to account for where

consumers might turn to avoid the exercise of market power. See, e.g., United States v. Phila.

Nat’l Bank, 374 U.S. 321, 359 (1963) (relevant geographic market is “the ‘area of effective

competition . . . in which the seller operates, and to which the purchaser can practicably turn for

supplies”) (quoting Tampa Elec. v. Nashville Coal Co., 365 U.S. 320, 327 (1961)) (emphasis

modified).

        This blatant attempt at gerrymandering, which artificially overstates JetBlue and

American’s competitive significance by essentially erasing United Airlines, should be seen for

what it is—Plaintiffs attempt to pick and choose any market that enhances their case. It is an

argument the Court must accept to find market power on New York routes, but which is impossible

to accept.

       In sum, Plaintiffs have failed to show that the NEA has generated or is generating any

anticompetitive effects, nor have they adequately demonstrated that the NEA has such a strong

tendency to create anticompetitive effects that actual effects may be inferred. As such, their case

must be dismissed. See Jefferson Parish Hosp. Dist. No. 2 v. Hyde, 466 U.S. at 2, 31 (1984)

(“Without a showing of actual adverse effect on competition, [a plaintiff] cannot make out a case

under the antitrust laws.”).




53
  Furthermore, Plaintiffs have admitted that the trio of Newark (EWR), LaGuardia (LGA), and
John F. Kennedy (JFK) is also a “relevant market that would pass the [merger] guidelines test.”
Miller Dep. Tr. 244:23-245:8. So even on its own terms this test in inconclusive.


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        C.      Defendants Will Show That The NEA Has a Procompetitive Rationale And Is
                Producing Numerous, Substantial Benefits

        If the Court finds that Plaintiffs can establish that the challenged restraint harms

competition (which it should not), the burden shifts to Defendants to provide a procompetitive

justification for the NEA. See Alston, 141 S. Ct. at 2160. Importantly, at this step, Defendants

must “show only that . . . [the alleged conduct] collectively yield[s] a procompetitive benefit,” and

“courts must give wide berth to business judgments before finding liability.” Id. at 2162, 2163.

Courts have held that procompetitive justifications that suffice for a defendant to meet its burden

under this step include enhanced efficiency and “[i]mproving customer choice,” see Paladin

Assocs., Inc. v. Montana Power Co., 328 F.3d 1145, 1157 (9th Cir. 2003); increased output and

the creation of new products, see Broadcast Music, Inc. v. Columbia Broad. Sys., Inc., 441 U.S. 1,

19–20, 23 (1979); and “improved [product] quality,” Am. Express, 138 S. Ct. at 2289. Here,

Defendants can proffer more than enough evidence of the NEA’s procompetitive benefits to satisfy

their burden at this stage.

        To begin, the NEA plainly has a procompetitive rationale—i.e., to pool JetBlue and

American’s resources so that the two carriers can better compete against other carriers (like Delta

and United) in the Northeast and “maximize customer value.”54 Indeed, doing so will allow

JetBlue and American to functionally expand their networks, increase connectivity, permit greater

scheduling convenience, add routes, increase frequencies on existing routes, and in general,

expand output.55 Such goals are plainly procompetitive. See Copperweld, 467 U.S. at 768 (“[J]oint


54
  See DX-0037 (undated American internal deck discussing NEA), at -0002 (“Project Garland is
focused on creating a post – COVID position in NYC/BOS that generates competitive consumer
benefits compared to DL & UA.”).
55
  See id. at -0007 (clean team analysis demonstrating the potential benefits of the NEA including
increased nonstop coverage, new shuttle product, better schedule patterns and expansion to new
markets, among others.); DX-0041 (July 2020 American Board of Directors Meeting), at -0065


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ventures . . . hold the promise of increasing a firm’s efficiency and enabling it to compete more

effectively.”); Collaboration Guidelines at 1 (“In order to compete in modern markets, competitors

sometimes need to collaborate. . . .      Such collaborations often are not only benign but

procompetitive. Indeed, in the last two decades, the federal antitrust agencies have brought

relatively few civil cases against competitor collaborations.”).

       In addition, as described above, Defendants can readily show that the NEA has generated,

and continues to generate, numerous significant benefits to consumers. Indeed, Dr. Mark Israel,

using methodology consistent with DOJ practice in previous cases, has estimated that the NEA

has resulted in up to $610 million annually in consumer benefits—a conservative estimate given

that the NEA is not yet fully implemented.

       Notably, the NEA has improved upon JetBlue’s and American’s independent growth plans.

And—directly contrary to Plaintiffs’ claims—the NEA is spurring JetBlue’s and American’s

competitors to compete and expand output.56 The benefits of this increased competition have not




(forecasting that the NEA will lead to service to 13 additional markets, increase daily seats offered
by the carriers, and expand carrier coverage in the Northeast); DX-0356 (June 2020 JetBlue Board
of Directors Meeting), at -0058 (“optimized network will provide customers” with “more new
2023 destinations,” “lower fares and [add] more seats to destinations from BOS and NYC,” and
“[e]arn-and-burn capabilities on linked Loyalty programs” among other benefits); id. At -0060-61
(noting that benefits of the NEA include “enhance[ing] competitive status in BOS and NYC,”
“restoring JetBlue’s pre-crisis size faster,” “accelerating a larger JetBlue in the next 3 years,” and
“driv[ing] an incremental ~40 aircraft into the fleet”).
56
   See, e.g., DX-0240 (                                                                             ),
at -0003 (
                     ); DX-0244 (                                                   ). at-0001 (

                                                      ); DX-0243 (
                         ), at - 0001 (
                      ); DX-0249 (                                                        ), at -0002
(                                                                                        ); DX-0248
(                                                        ), at -0002 (
                                                                         ); DX-0510 (


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been quantified or incorporated into Defendants’ estimate of consumer benefits from the NEA,

meaning that actual procompetitive effects exceed Dr. Israel’s calculations.

       In sum, Defendants have more than adequately shown that the NEA has, is, and will

continue to result in consumer benefits.

       D.      Plaintiffs Cannot Show That The Benefits of The NEA Could Be
               Accomplished Through Less Restrictive Alternatives

       Once a defendant has established a procompetitive justification, the burden shifts back to

the plaintiff to show that the procompetitive effects could be achieved through a substantially less

restrictive alternative. See Alston, 141 S. Ct. at 2160. To satisfy this burden, the plaintiff must

“demonstrate that any legitimate collaborative objectives proffered by defendant could have been

achieved by . . . [means] that would be less prejudicial to competition as a whole.” Cap. Imaging

Assocs., P.C. v. Mohawk Valley Med. Assocs., Inc., 996 F.2d 537, 543 (2d Cir. 1993). Importantly,

any less restrictive alternative must be “virtually as effective in serving the procompetitive

purposes” of the conduct. O’Bannon v. NCAA, 802 F.3d 1049, 1074 (9th Cir. 2015) (internal

quotations omitted). In other words, it is not enough to show you can do less with less – Plaintiffs

must show that there are less restrictive alternatives that can achieve virtually the same benefits.

The Supreme Court’s Alston decision emphasized that “courts should not second-guess ‘degrees

of reasonable necessity’ so that ‘the lawfulness of conduct turn[s] upon judgments of degrees of

efficiency.’” Alston, 141 S. Ct. at 2161.

       Here, Plaintiffs have made no effort to show the existence of a less restrictive alternative

that would achieve the same consumer benefits as the NEA—much less demonstrating an

alternative “virtually as effective in serving the procompetitive purposes of . . . [the NEA], and



                                           ), at -0001(
                            ).


                                                   38
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without significantly increased cost.” See O’Bannon, 802 F.3d at 1074 (internal quotations

omitted). Indeed, none of Plaintiffs’ experts have affirmatively shown the benefits of any such

alternative.57 Plaintiffs have at times alluded to the possibility of standalone codesharing, or other

alliance structures like that American has used with other airlines, but none of these alternatives

can as a practical matter create the same consumer benefits as the NEA, including not only

revenue-sharing but also the optimization in use of American’s and JetBlue’s scarce resources –

slots, schedules, and gates – at the NEA airports. Alternatives that are “more hypothetical than

practical” do not suffice. See M & H Tire Co., Inc. v. Hoosier Racing Tire Corp., 733 F.2d 973,

987 (1st Cir. 1984).

         Most importantly, Plaintiffs have not even attempted to demonstrate that network

enhancements and associated consumer benefits of the NEA can be replicated by any practical

alternative.58 Their case is about nothing more than marginal growth opportunities without the

network improvements needed to compete with United and Delta. Such arguments are miles away

from meeting a plaintiff’s third-step burdens. Plaintiffs essentially second-guess the need for

network improvements, which is improper. Alston, 141 S. Ct. at 2161 (“[Allowing routine second-

guessing of business arrangements] would be a recipe for disaster, for a skilled lawyer will have

little difficulty imagining possible less restrictive alternatives to most joint arrangements.”)

(internal quotations omitted).

         The NEA solves a problem neither American nor JetBlue could have solved alone. It does

so while fostering the independent, strategic identities of American and JetBlue—which means


57
     See Town Dep. Tr. 210:12-214:19.
58 See, e.g., Town Dep. Tr. 207:12-14 (“Q: But you didn’t quantify the benefits of the NEA,
correct? A: No, I did not.”); Town Dep. Tr. 198:19-22 (“Q: Did you make any attempt to assess
the number of slot leases or swaps that would have been required to achieve the benefits of the
NEA? A: No, I didn’t do that calculation.”).


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that it is not very “restrictive” in the first place. There is nothing even less restrictive that could

possibly generate its benefits.

IV.    CONCLUSION

       Plaintiffs cannot meet their burden under the rule of reason. Plaintiffs are unable to show

that the NEA has produced or is producing any anticompetitive harm, failing the first prong of the

rule of reason analysis. Even if the Court finds that Plaintiffs have met their initial burden of

demonstrating harm to competition, the Court should still find in favor of Defendants because the

NEA has generated and will continue to generate significant consumer benefits that could not

equally be achieved through less restrictive means.

Dated: September 24, 2022                              Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        I hereby certify that a true, unredacted version of the foregoing document was served by
electronic mail on all counsel of record this 24th day of September, 2022.

                                                   /s/ Daniel M. Wall
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